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IN THE UNITED sTATEs DISTRICT COURT "` `v g 2/
FOR THE WEsTERN DISTRICT or TENNESSE£,@54U@5 ' 90
EASTERN DlesION

CATHY TURNBOW,

 

Plaintiff,

\/S. NO. 1-04-1239-T
JO ANNE B. BARNHART,
COMMISSIONER OF SOCIAL
SECURITY,

\_/\_/\.-/\_/\*/\_/\_/\_/\_/\-,/\_,/

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR ATTORNEY’S FEES

 

Plaintiff Cathy Turnbow brought this action seeking review of the Commissioner’s
decision denying her social security and disability benefits On April 19, 2005, the court
ordered that the Commissioner’s decision Was reversed and remanded pursuant to sentence
four of42 U.S.C. § 405(g). Plaintiff filed this motion for attorney’s fees under the Equal
Access to .lustice Act (“EAJA”), 28 U.S.C. § 2412, in the amount 0f$l,925.00. Defendant
responded and does not object.

Under the EAJA, the court shall “aWard to a prevailing party . . . fees and other
expenses . . _ incurred by that party in any civil action . . . , including proceedings for judicial
review of agency action, brought by or against the United States . . . , unless the Court finds
that the position of the United States Was substantially justified or that special circumstances

make an award unjust.” 28 U.S.C. § 2412(d)(l)(A). A social security plaintiff Who obtains

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a sentence-four remand is a prevailing party under the EAJA. Shalala v. Schaefer, 509 U.S.
292, 300-02 (1993). Thus, plaintiffis entitled to attorney fees and expenses if the position
of the Commissioner was not substantially justified Further, the EAJA makes it clear that
a prevailing party also is entitled to an award of costs under § 2412(a).

The Commissioner has the burden of proving that her position was substantially
justified under the EAJA. §e_e London v. Halter, 203 F. Supp. 2d 367, 373 (E.D. Tenn.
2001). ln this case, by acquiescing in an award of attorney fees, the Commissioner has
conceded that her position was not substantially justified The Court also concludes that
there are no special circumstances that would make an award unjust. Consequently, Plaintiff
is entitled to an award of attorney fees.

Plaintiff's counsel, Roger Stanfield, submitted an affidavit stating that he expended
15.4 hours on this case, at the rate ofSlZS.()O per hour, for a total of$ 1,925.00 in attorney’s
fees. Roger Stanfield Af`f. il 6. The court finds that the number of hours expended and the
hourly rate are reasonable As a result, Plaintiff’ s motion for attorney’s fees is GRANTED,
and fees in the amount of $l,925.00 will be paid directly to Plaintiff’s counsel.

lT lS SO ORDERED.

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UNI D sTATES DisrRlCr JUDGE

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DATE

STAES DISTRICT OURT - WESNTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case l:04-CV-01239 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Roger Stanfield

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

.lacl<son7 TN 38303--333

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

